                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


Criminal Case No.     18-cr-0555-PAB

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. ANDRES JAQUIN LUNA III,
      a/k/a “Buddha,”
2. JOSE EDUARDO TRUJILLO,

       Defendants.


                                       INDICTMENT
                                    18 U.S.C. ' 922(g)(1)
                                      18 U.S.C. § 922(o)
                           21 U.S.C. §§ 841(a)(1) and (b)(1)(A)(viii)
                                      26 U.S.C. ' 5861(f)
                                     26 U.S.C. ' 5861(d)


       The Grand Jury charges:

                                           COUNT 1

                                      18 U.S.C. ' 922(g)(1)

       On or about June 19, 2018, in the State and District of Colorado, the defendant,

ANDRES JAQUIN LUNA III, a/k/a “Buddha,” having been previously convicted of a crime

punishable by imprisonment for a term exceeding one year, did knowingly possess a firearm in

and affecting interstate commerce; in violation of Title 18, United States Code, Section

922(g)(1).
                                           COUNT 2

                                      18 U.S.C. ' 922(g)(1)

       On or about June 20, 2018, in the State and District of Colorado, the defendant,

ANDRES JAQUIN LUNA III, a/k/a “Buddha,” having been previously convicted of a crime

punishable by imprisonment for a term exceeding one year, did knowingly possess a firearm in

and affecting interstate commerce; in violation of Title 18, United States Code, Section

922(g)(1).

                                           COUNT 3

                                      18 U.S.C. ' 922(g)(1)

       On or about July 11, 2018, in the State and District of Colorado, the defendant, ANDRES

JAQUIN LUNA III, a/k/a “Buddha,” having been previously convicted of a crime punishable by

imprisonment for a term exceeding one year, did knowingly possess a firearm in and affecting

interstate commerce; in violation of Title 18, United States Code, Section 922(g)(1).

                                           COUNT 4

                           21 U.S.C. '' 841(a)(1) and (b)(1)(A)(viii)

       On or about July 11, 2018, in the State and District of Colorado, the defendant, ANDRES

JAQUIN LUNA III, a/k/a “Buddha,” did knowingly and intentionally distribute, and possess

with intent to distribute, 500 grams and more of a mixture and substance containing a detectable

amount of methamphetamine, a Schedule II controlled substance; in violation of Title 21, United

States Code, Sections 841(a)(1) and (b)(1)(A)(viii).



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                                           COUNT 5

                                       26 U.S.C. ' 5861(f)

       On or about and between an unknown date but no later than July 25, 2018 through

November 28, 2018, in the State and District of Colorado, the defendant, JOSE EDUARDO

TRUJILLO, knowingly made firearms, to wit: machine guns and silencers; in violation of Title

26, United States Code, Section 5861(f).

                                           COUNT 6

                                      18 U.S.C. ' 922(g)(1)

       On or about July 25, 2018, in the State and District of Colorado, the defendant, ANDRES

JAQUIN LUNA III, a/k/a “Buddha,” having been previously convicted of a crime punishable by

imprisonment for a term exceeding one year, did knowingly possess a firearm in and affecting

interstate commerce; in violation of Title 18, United States Code, Section 922(g)(1).

                                           COUNT 7

                                      26 U.S.C. ' 5861(d)

       On or about July 25, 2018, in the State and District of Colorado, the defendant, ANDRES

JAQUIN LUNA III, a/k/a “Buddha,” knowingly received and possessed firearms, to wit, two

silencers, as defined in 18 U.S.C. § 921(3)(C) and 26 U.S.C. § 5845(a)(7), not registered to him

in the National Firearms Registration and Transfer Record; in violation of Title 26, United States

Code, Section 5861(d).

                                           COUNT 8

                                      26 U.S.C. ' 5861(d)

                                                3
       On or about July 25, 2018, in the State and District of Colorado, the defendant, JOSE

EDUARDO TRUJILLO, knowingly possessed firearms, to wit, two silencers, as defined in 18

U.S.C. § 921(3)(C) and 26 U.S.C. § 5845(a)(7), not registered to him in the National Firearms

Registration and Transfer Record; in violation of Title 26, United States Code, Section 5861(d).

                                           COUNT 9

                                      18 U.S.C. ' 922(g)(1)

       On or about August 29, 2018, in the State and District of Colorado, the defendant,

ANDRES JAQUIN LUNA III, a/k/a “Buddha,” having been previously convicted of a crime

punishable by imprisonment for a term exceeding one year, did knowingly possess a firearm in

and affecting interstate commerce; in violation of Title 18, United States Code, Section

922(g)(1).


                                           COUNT 10

                                      26 U.S.C. ' 5861(d)

       On or about August 29, 2018, in the State and District of Colorado, the defendant,

ANDRES JAQUIN LUNA III, a/k/a “Buddha,” knowingly received and possessed firearms, to

wit, two silencers, as defined in 18 U.S.C. § 921(3)(C) and 26 U.S.C. § 5845(a)(7), not registered

to him in the National Firearms Registration and Transfer Record; in violation of Title 26, United

States Code, Section 5861(d).

                                           COUNT 11

                                      26 U.S.C. ' 5861(d)

       On or about August 29, 2018, in the State and District of Colorado, the defendant, JOSE

                                                4
EDUARDO TRUJILLO, knowingly possessed firearms, to wit, two silencers, as defined in 18

U.S.C. § 921(3)(C) and 26 U.S.C. § 5845(a)(7), not registered to him in the National Firearms

Registration and Transfer Record; in violation of Title 26, United States Code, Section 5861(d).

                                           COUNT 12

                                      18 U.S.C. ' 922(g)(1)

       On or about October 30, 2018, in the State and District of Colorado, the defendant,

ANDRES JAQUIN LUNA III, a/k/a “Buddha,” having been previously convicted of a crime

punishable by imprisonment for a term exceeding one year, did knowingly possess a firearm in

and affecting interstate commerce; in violation of Title 18, United States Code, Section

922(g)(1).

                                           COUNT 13

                                       18 U.S.C. ' 922(o)

       On or about October 30, 2018, in the State and District of Colorado, the defendant,

ANDRES JAQUIN LUNA III, a/k/a “Buddha,” knowingly possessed a machinegun, to wit, a

Glock, model 17, 9mm x 19 caliber, bearing serial number NAG583; in violation of Title 18,

United States Code, Section 922(o).

                                           COUNT 14

                                       18 U.S.C. ' 922(o)

       On or about October 30, 2018, in the State and District of Colorado, the defendant, JOSE

EDUARDO TRUJILLO, knowingly possessed a machinegun, to wit, an Auto Connector

(“Lightning Link,”), as defined in 26 U.S.C. § 5845(b); in violation of Title 18, United States

Code, Section 922(o).
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                                           COUNT 15

                                      18 U.S.C. ' 922(g)(1)

       On or about November 8, 2018, in the State and District of Colorado, the defendant,

ANDRES JAQUIN LUNA III, a/k/a “Buddha,” having been previously convicted of a crime

punishable by imprisonment for a term exceeding one year, did knowingly possess a firearm in

and affecting interstate commerce; in violation of Title 18, United States Code, Section

922(g)(1).

                                           COUNT 16

                                       18 U.S.C. ' 922(o)

       On or about November 8, 2018, in the State and District of Colorado, the defendant,

ANDRES JAQUIN LUNA III, a/k/a “Buddha,” knowingly received and possessed three

machineguns, to wit, two Auto Connectors (“Lightning Links,”), as defined in 26 U.S.C. §

5845(b) and a Surplus Ammo & Arms, model LOW15, multi-caliber, fully-automatic rifle; in

violation of Title 18, United States Code, Section 922(o).

                                           COUNT 17

                                       26 U.S.C. ' 5861(d)

       On or about November 8, 2018, in the State and District of Colorado, the defendant,

ANDRES JAQUIN LUNA III, a/k/a “Buddha,” knowingly received and possessed firearms, to

wit, three silencers, as defined in 18 U.S.C. § 921(3)(C) and 26 U.S.C. § 5845(a)(7), not

registered to him in the National Firearms Registration and Transfer Record; in violation of Title

26, United States Code, Section 5861(d).


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                                           COUNT 18

                                      18 U.S.C. ' 922(g)(1)

       On or about November 28, 2018, in the State and District of Colorado, the defendant,

ANDRES JAQUIN LUNA III, a/k/a “Buddha,” having been previously convicted of a crime

punishable by imprisonment for a term exceeding one year, did knowingly possess a firearm in

and affecting interstate commerce; in violation of Title 18, United States Code, Section

922(g)(1).

                                           COUNT 19

                                       26 U.S.C. ' 5861(d)

       On or about November 28, 2018, in the State and District of Colorado, the defendant,

ANDRES JAQUIN LUNA III, a/k/a “Buddha,” knowingly received and possessed a firearm, to

wit, a silencer, as defined in 18 U.S.C. § 921(3)(C) and 26 U.S.C. § 5845(a)(7), not registered to

him in the National Firearms Registration and Transfer Record; in violation of Title 26, United

States Code, Section 5861(d).


                                           COUNT 20

                                       18 U.S.C. ' 922(o)

       On or about November 28, 2018, in the State and District of Colorado, the defendant,

JOSE EDUARDO TRUJILLO, knowingly possessed two machineguns, to wit, two Auto

Connectors (“Lightning Links,”), as defined in 26 U.S.C. § 5845(b); in violation of Title 18,

United States Code, Section 922(o).



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                                          COUNT 21

                                      26 U.S.C. ' 5861(d)

       On or about November 28, 2018, in the State and District of Colorado, the defendant,

JOSE EDUARDO TRUJILLO, knowingly received and possessed a firearm, to wit, a silencer, as

defined in 18 U.S.C. § 921(3)(C) and 26 U.S.C. § 5845(a)(7), not registered to him in the

National Firearms Registration and Transfer Record; in violation of Title 26, United States Code,

Section 5861(d).



                              FORFEITURE ALLEGATION

       Upon conviction of the violations alleged in Counts 1 through 3, 6, 9, 12 through

16, 18, and 20 of this Indictment involving Title 18, United States Code, Sections

922(g)(1) and (o), the defendants, ANDRES JAQUIN LUNA III, a/k/a “Buddha,” and JOSE

EDUARDO TRUJILLO shall forfeit to the United States, pursuant to Title 18, United

States Code, Section 924(d) and Title 28, United States Code, Section 2461(c), the

firearms involved in the commission of the offense.

       Upon conviction of the violation alleged in Count 4 of this Indictment, involving

violations of Title 21, United States Code, Section 841(a), the defendant ANDRES

JAQUIN LUNA III, a/k/a “Buddha,” shall forfeit to the United States, pursuant to Title 21,

United States Code, Section 853, any and all of the defendant’s right, title and interest in

all property constituting and derived from any proceeds obtained directly and indirectly

as a result of such offense, and all property used, or intended to be used, in any manner or
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part, to commit, or to facilitate the commission of such offense, including, but not limited

to: a money judgment in the amount of proceeds obtained by the defendant.

       Upon conviction of the violation alleged in Counts 5, 7, 8, 10, 11, 17, 19, and 21

of this Indictment, involving Title 26, United States Code, Sections 5861(d) and (f), the

defendants, ANDRES JAQUIN LUNA III, a/k/a “Buddha,” and JOSE EDUARDO TRUJILLO,

shall forfeit to the United States, pursuant to Title 26, United States Code, Section 5872

and Title 28, United States Code, Section 2461(c), the firearms involved in the

commission of the offenses.

       If the property described above, as a result of any act or omission of the

defendants:

              a)        cannot be located upon the exercise of due diligence;
              b)        has been transferred or sold to, or deposited with, a third
                        party;
                c)      has been placed beyond the jurisdiction of the Court;
                d)      has been substantially diminished in value; or
                e)      has been commingled with other property which
                        cannot be subdivided without difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek




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forfeiture of any other property of defendants, ANDRES JAQUIN LUNA III, a/k/a

“Buddha,” and JOSE EDUARDO TRUJILLO, up to the value of the forfeitable property.




                                       A TRUE BILL


                                       Ink signature on file in Clerk’s Office
                                       FOREPERSON



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